          Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 1 of 30




                                   Exhibit A




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                         20CV372366
                                                       Santa Clara Civil
                                                                  




                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 2 of 30
                                                                                                                B. Roman-An tunez



                                                                                      Electronically Filed
             JAMIE CROOK (#245757)                                                    by Superior Court of CA,
1234567009



             Chief Counsel                                                            County of Santa Clara,
             RUMDUOL VUONG (#264392)                                                  on 12l11l2023 6:26 PM
             Assistant Chief Counsel                                                  Reviewed By: B. Roman-Antunl
             ROYA MASSOUMI (#242697)                                                  case #20cv372356
             Associate Chief Counsel
             DYLAN COLBERT (#341424)                                                  Envebpe'. 13833203
             Staff Counsel
             CALIFORNIA DEPARTMENT OF FAIR
             EMPLOYMENT AND HOUSING
             22 I8 Kausen Drive, Suite 100
             Elk Grove, CA 95758
             Telephone: (916) 964-1925
             Facsimile: (888) 382-5293


             Attorneys for Plaintiff,
             California Department of Fair Employment and Housing             (Fee Exempt, Gov. Code, § 6103)
10

11                             IN THE SUPERIOR COURT OF THE STATE 0F CALIFORNIA

12                                          IN AND FOR THE COUNTY OF SANTA CLARA

13           CALIFORNIA DEPARTMENT OF FAIR                            Case No. 20CV372366
             EMPLOYMENT AND HOUSING, an agency of
14           the State of California,                                 PLAINTIFF CALIFORNIA CIVIL RIGHTS
                                                                      DEPARTMENT'S (formerly California
15                                                   Plaintiff,       DEPARTMENT OF FAIR EMPLOYMENT
                                                                      AND HOUSING) NOTICE OF MOTION AND
16                                      V                             MOTION FOR LEAVE TO AMEND FIRST
                                                                      AMENDED COMPLAINT AND TO FILE
17           CISCO SYSTEMS, INC., a California                        SECOND AMENDED COMPLAINT
             Corporation,
18
                                                    Defendant.        Date:           3-12-2024
19                                                                    Time:            9:00 AM
                                                                      Department:      I6
20                                                                    Judge:           Hon. Amber Rosen

21                                                                    Action Filed:    October I6, 2020
                                                                      Trial Date:      TBD
22

23                  TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
24                   PLEASE TAKE NOTICE that on [DATE] at [TIME] or as soon as the matter may be heard, in
25           Department I6 of the above entitled Court located at I91 North First Street, San Jose, CA 95113,

26           pursuant to California Code of Civil Procedure § 473, subdivision (a), Plaintiff Civil Rights Department

27

28
                                                                 -1-
                             Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (Case No. 20CV372366)
                                        Notice of Motion and Motion for Leave to Amend FAC
         Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 3 of 30



 1   (formerly the Department of Fair Employment and Housing) will move and hereby does move this

 2   Court for an order allowing Plaintiff to amend the First Amended Complaint to reflect the following:

 3              •   Striking the sentence stating, “ As a strict Hindu social and religious hierarchy, India’s

 4                  caste system defines a person’s status based on their religion, ancestry, national

 5                  origin/ethnicity, and race/color—or the caste into which they are born—and will remain

 6                  until death” and accompany footnote from the First Amended Complaint. (Pl. First

 7                  Amended Compl. at 2:5-8.);

 8              •   Amending reference in the case caption and throughout the pleading to reflect that
 9                  Plaintiff Department of Fair Employment and Housing’s name has changed to Civil
10                  Rights Department pursuant effective June 30, 2022 (Stats. 2022, ch. 48, § 4.); and
11              •   Amend the case caption and throughout the pleading to reflect the dismissal of the
12                  individual defendant Sundar Iyer and Romana Kompella pursuant to a mutual settlement
13                  agreement and release.
14          This motion shall be based on this notice, the accompanying Memorandum of Points and
15   Authorities, the Declaration of Rumduol K. Vuong, accompany exhibit, all records on file in this case,
16   and such evidence as may properly come before the Corut at the time of the hearing of this motion.
17

18
                                                                  CIVIL RIGHTS DEPARTMENT (formerly
19                                                                DEPARTMENT OF FAIR EMPLOYMENT
20                                                                AND HOUSING

21   Dated: December 11, 2023                                     __________________________________
                                                                  Rumduol Vuong, Assistant Chief Counsel
22                                                                Attorney for Plaintiff CRD
23

24

25

26

27

28
                                                         -2-
                    Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (Case No. 20CV372366)
                               Notice of Motion and Motion for Leave to Amend FAC
                                             20CV372366
                                           Santa Clara – Civil
           Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 4 of 30
                                                                                               B. Roman-Antunez



 1                                                                     Electronically Filed
     JAMIE CROOK (#245757)
                                                                       by Superior Court of CA,
     Chief Counsel
 2   RUMDUOL VUONG (#264392)                                           County of Santa Clara,
     Assistant Chief Counsel                                           on 12/11/2023 6:26 PM
 3   ROYA MASSOUMI (#242697)                                           Reviewed By: B. Roman-Antunez
     Associate Chief Counsel                                           Case #20CV372366
 4   DYLAN COLBERT (#341424)                                           Envelope: 13833203
     Staff Counsel
 5   CALIFORNIA DEPARTMENT OF FAIR
      EMPLOYMENT AND HOUSING
 6   2218 Kausen Drive, Suite 100
     Elk Grove, CA 95758
 7   Telephone: (916) 478-7251
     Facsimile: (888) 382-5293
 8
     Attorneys for Plaintiff,
 9   California Department of Fair Employment and Housing              (Fee Exempt, Gov. Code, § 6103)
10

11                  IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
12                          IN AND FOR THE COUNTY OF SANTA CLARA
13   CALIFORNIA DEPARTMENT OF FAIR                       Case No. 20CV372366
     EMPLOYMENT AND HOUSING, an agency of
14   the State of California,                            MEMORANDUM OF POINTS AND
                                                         AUTHORITIES IN SUPPORT OF PLAINTIFF
15                                       Plaintiff,      CALIFORNIA CIVIL RIGHTS
                                                         DEPARTMENT’S (formerly California
16                        v.                             DEPARTMENT OF FAIR EMPLOYMENT
                                                         AND HOUSING) MOTION FOR LEAVE TO
17   CISCO SYSTEMS, INC., a California                   AMEND FIRST AMENDED COMPLAINT
     Corporation, SUNDAR IYER, an individual;            AND TO FILE SECOND AMENDED
18   RAMANA KOMPELLA, an individual                      COMPLAINT
19                                     Defendant.
20                                                        Date:
                                                          Time:       9:00 AM
21                                                        Department: 16
                                                          Judge:      Hon. Amber Rosen
22

23                                                        Action Filed: October 16, 2020
                                                          Trial Date:   TBD
24

25   ///

26   ///

27   ///

28   ///

                                                       -1-
                    Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                Memo of Points and Authorities ISO Plaintiff Motion for Leave to Amend FAC
          Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 5 of 30


 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          I.      INTRODUCTION

 3          Plaintiff Civil Rights Department (“CRD” or “Plaintiff”) (formerly Department of Fair

 4   Employment and Housing) seeks an order pursuant to California Code of Civil Procedure section 473,

 5   subdivision (a), for leave to file a Second Amended Complaint. Specifically, CRD seeks leave to amend

 6   the pleadings to reflect the dismissal of individual defendants Sundar Iyer and Ramana Kompella from

 7   the matter pursuant to a settlement agreement/mutual release. CRD further seeks to amend the pleading

 8   to reflect that the Department of Fair Employment and Housing is now the Civil Rights Department.

 9   Lastly, CRD seeks leave from the court to remove the sentence stating, “[a]s a strict Hindu social and
10   religious hierarchy, India’s caste system defines a person’s status based on their religion, ancestry,
11   national origin/ethnicity, and race/color—or the caste into which they are born—and will remain until
12   death” and accompany footnote from the First Amended Complaint as the Court itself noted that this
13   sentence was unnecessary to the litigation. (Pl. First Amended Compl. at p. 2:5-8.) CRD has consulted
14   with Defendant Cisco Systems, Inc. on these amendments and Cisco has not expressed any opposition to
15   these amendments.
16          This motion shall be based on this notice, the accompanying Memorandum of Points and
17   Authorities, the Declaration of Rumduol K. Vuong, accompany exhibit, all records on file in this case,
18   and such evidence as may properly come before the Court at the time of the hearing of this motion.
19          II.     PROCEDURAL HISTORY

20          On October 16, 2020, CRD, then the Department of Fair Employment and Housing (“DFEH”),

21   filed the original complaint in the above-entitled matter against Defendants Cisco Systems, Inc.

22   (“Cisco”), Sundar Iyer (“Iyer”) and Ramana Kompella (“Kompella”), alleging caste discrimination,

23   harassment and retaliation perpetrated against Complainant Narsude Chetan (“Complainant”). (See Pl.

24   Compl.) As pertinent here, the original complaint contained a sentence stating, “[a]s a strict Hindu

25   social and religious hierarchy, India’s caste system defines a person’s status based on their religion,

26   ancestry, national origin/ethnicity, and race/color—or the caste into which they are born—and will

27   remain until death.” (Pl. Compl. at p. 2:5-8.)

28

                                                         -2-
                      Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                  Memo of Points and Authorities ISO Plaintiff Motion for Leave to Amend FAC
          Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 6 of 30


 1           On November 2, 2020, Plaintiff filed a motion to proceed using a fictitious name to enable

 2   Plaintiff to use a pseudonym for the Complainant.

 3           Defendant Cisco filed a demurrer and motion to strike on November 3, 2020.

 4           On January 7, 2021, the Hindu American Foundation sought intervention in this matter.

 5           On June 30, 2022, Senate Bill 189 became law and changed the name of the Department of Fair

 6   Employment and Housing to the Civil Rights Department. (See Cal. Gov’t Code § 12901. Legis.

 7   Counsel’s Dig., Sen. Bill No. 189 (2021-2022 Reg. Sess).)

 8           Pursuant to a settlement agreement/mutual release, Plaintiff requested dismissal of Iyer and

 9   Kompella as defendants from this matter on April 6, 2023 and the Court entered the dismissal on April
10   11, 2023. (Vuong Decl. at ¶3.)
11           On November 6, 2023, the Court overruled the demurrer in its entirety and granted the motion to
12   strike in part, ordering stricken footnotes 8, 9 and 10 as well as a sentence on page 4. (Court Nov. 6,
13   2023 Order at p. 24:13-22.)
14           Oral arguments were held on both the intervention motion and the motion to proceed using a
15   fictitious name on November 16, 2023. At this hearing, the Court denied the intervention motion and
16   noted that the sentence regarding Hindu social and religious hierarchy was unnecessary for this
17   litigation.
18           The Court further denied the fictitious name motion and ordered Plaintiff to amend the original
19   complaint to name Complainant within seven days. (Court Dec. 7 Order.) Defendant Cisco has not yet

20   filed its answer, which is due thirty days after the filing of the FAC.

21           Concurrent with this motion, Plaintiff has filed its First Amended Complaint (“FAC”), which

22   was revised to comply with the Court’s order on the motions to strike and for use of a fictitious name.

23   Specifically, Plaintiff’s FAC discloses Complainant’s identity and remove two footnotes and a sentence

24   regarding Cisco’s use of the H1B visa that the Court ordered stricken.

25           Plaintiff files this motion for leave to amend the FAC as follows: to reflect the dismissal of the

26   Iyer and Kompella; to change Plaintiff’s name; and to remove the sentence the Court characterized as

27   unnecessary. Plaintiff has informed Cisco of its intention to seek leave from the Court to amend the

28   FAC for this purpose and Cisco has not raised any objections. (Vuong Decl. at ¶5.)

                                                          -3-
                       Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                   Memo of Points and Authorities ISO Plaintiff Motion for Leave to Amend FAC
          Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 7 of 30


 1          III.     ARGUMENT

 2          As the amendments sought by CRD are procedural (reflecting the name change of the Plaintiff

 3   and dismissal of Iyer and Kompella as defendants) and at the suggestion of the Court (removal of the

 4   sentence in the first paragraph of the First Amended Complaint (p. 2:5-8)), the Court should exercise its

 5   discretion to allow Plaintiff to amend the FAC, especially as no party would be prejudiced by this

 6   amendment.

 7          California Code of Civil Procedure section 473, subdivision (a) gives a court discretion to

 8   allow a party to amend a pleading, including to correct a mistake in the name of a party. (Cal. Civ.

 9   Pro. 473(a) [stating “ [t]he court may, in furtherance of justice, and on any terms as may be proper,
10   allow a party to amend any pleading or proceeding by adding or striking out the name of any party, or
11   by correcting a mistake in the name of a party, or a mistake in any other respect… The court may
12   likewise, in its discretion, after notice to the adverse party, allow, upon any terms as may be just, an
13   amendment to any pleading or proceeding in other particulars…”].) While “[m]otions for leave to
14   amend are directed to the sound discretion of the judge…the court’s discretion will usually be exercised
15   liberally to permit amendment of the pleadings. [Citation] The policy favoring amendment is so strong
16   that it is a rare case in which denial of leave to amend can be justified.” (Howard v. County of San Diego
17   (2010) 184 Cal.App.4th 1422, 1428 [citing Nestle v. Santa Monica (1972) 6 Cal.3d 920, 939 and Mabie
18   v. Hyatt (1998) 61 Cal.App.4th 581, 596.)
19          Indeed, California’s public policy allows great liberality in amendments to pleadings at any stage

20   of the proceeding where the authorization does not prejudice substantial rights of others. (Hulsey v.

21   Koehler (1990) 218 Cal.App.3d 1150, 1159 [“Section 473 permits the trial court in its discretion to

22   allow amendments to pleadings in the furtherance of justice. Ordinarily, courts should ‘exercise

23   liberality’ in permitting amendments at any stage of the proceeding]; Permalab–Metalab Equipment

24   Corp. v. Maryland Cas. Co. (1972) 25 Cal.App.3d 465, 472 [noting that courts are critical of proposed

25   amendment to pleadings where it occurs on the eve of trial, there is unexplained delay, or prejudice to a

26   party exists].). It is an abuse of discretion to deny leave to amend where the opposing party was not

27   misled or prejudiced by the amendment. (Berman v. Bromberg (1997) 56 Cal.App.4th 936, 945-46.)

28

                                                         -4-
                       Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                   Memo of Points and Authorities ISO Plaintiff Motion for Leave to Amend FAC
            Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 8 of 30


 1           Here, Plaintiff seeks to amend its FAC first for the purpose of correcting its own name and to

 2   reflect the removal of Iyer and Kompella as defendants in the operative pleading. These changes are

 3   administrative, not substantive, and will not prejudice the defendant because it does not change the

 4   nature of the action or the parties. (Hawkins v. Pacific Coast Bldg. Products, Inc. (2004) 124

 5   Cal.App.4th 1497, 1505.)

 6           The additional amendment is to remove language that the Court indicated it found superfluous

 7   and unnecessary. Plaintiff has informed Cisco of its intention to seek the above amendments and Cisco

 8   has not objected to these proposed amendments. The redlined version of the FAC with the proposed

 9   changes is attached hereto as Exhibit A.
10           As there exists no prejudice to the Cisco from the filing of a Second Amended Complaint to
11   incorporate the proposed modifications, the Court should grant CRD’s motion in accordance with the
12   great liberality in permitting amendments to the pleading at any stage of the proceeding.
13           IV.     CONCLUSION
14           For the forgoing reasons, Plaintiff CRD respectfully requests that the court grants Plaintiff’s

15   request for leave to amend the FAC and file the Second Amended Complaint attached hereto as Exhibit

16   “A”.

17
                                                                   CIVIL RIGHTS DEPARTMENT (formerly
18                                                                 DEPARTMENT OF FAIR EMPLOYMENT
19                                                                 AND HOUSING

20
     Dated: December 11, 2023                                      __________________________________
21                                                                 Rumduol Vuong, Assistant Chief Counsel
                                                                   Attorney for Plaintiff CRD
22

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                                                         -5-
                       Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                   Memo of Points and Authorities ISO Plaintiff Motion for Leave to Amend FAC
                                                  20CV372366
                                                Santa Clara – Civil
          Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 9 of 30
                                                                                                        B. Roman-Antunez


                                                                            Electronically Filed
 1   JAMIE CROOK (#245757)                                                  by Superior Court of CA,
     Chief Counsel                                                          County of Santa Clara,
 2   RUMDUOL VUONG (#264392)
     Assistant Chief Counsel                                                on 12/11/2023 6:26 PM
 3   ROYA MASSOUMI (#242697)                                                Reviewed By: B. Roman-Antunez
     Associate Chief Counsel                                                Case #20CV372366
 4   DYLAN COLBERT (#341424)                                                Envelope: 13833203
     Staff Counsel
 5   CALIFORNIA DEPARTMENT OF FAIR
      EMPLOYMENT AND HOUSING
 6   2218 Kausen Drive, Suite 100
     Elk Grove, CA 95758
 7   Telephone: (916) 964-1925
     Facsimile: (888) 382-5293
 8

 9   Attorneys for Plaintiff,
     California Department of Fair Employment and Housing             (Fee Exempt, Gov. Code, § 6103)
10

11                   IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

12                            IN AND FOR THE COUNTY OF SANTA CLARA

13   CALIFORNIA DEPARTMENT OF FAIR                            Case No. 20CV372366
     EMPLOYMENT AND HOUSING, an agency of
14   the State of California,                                 DECLARATION OF RUMDUOL VUONG IN
                                                              IN SUPPORT OF PLAINTIFF CALIFORNIA
15                                            Plaintiff,      CIVIL RIGHTS DEPARTMENT’S (formerly
                                                              California DEPARTMENT OF FAIR
16                          v.                                EMPLOYMENT AND HOUSING) MOTION
                                                              FOR LEAVE TO AMEND FIRST AMENDED
17   CISCO SYSTEMS, INC., a California                        COMPLAINT AND TO FILE SECOND
     Corporation,                                             AMENDED COMPLAINT
18
                                           Defendant.          Date:
19                                                             Time:       9:00 AM
                                                               Department: 16
20                                                             Judge:      Hon. Amber Rosen
21                                                             Action Filed: October 16, 2020
                                                               Trial Date:   TBD
22

23   I, Rumduol K. Vuong, do hereby state as follows:

24          1.      I am an attorney at law duly licensed to practice in the courts of the State of California. I

25   am employed as Assistant Chief Counsel by Plaintiff California Civil Rights Department (CRD),

26   previously the Department of Fair Employment and Housing. In my official capacity, I represent CRD

27   in this matter. I have personal knowledge of the above-captioned case and the matters in this declaration,

28
                                                            -1-
                     Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                    Decl. of Rumduol Vuong ISO Plaintiff Motion for Leave to Amend FAC
         Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 10 of 30


 1   except those statements made upon information and belief. If called on to testify, I could do so

 2   competently.

 3          2.      I make this declaration in support of Plaintiff CRD’s notice of motion and motion for

 4   leave to amend the first amended complaint and memorandum of points and authorities in support

 5   thereof.

 6          3.      Pursuant to a settlement agreement, CRD requested dismissal of Sundar Iyer and

 7   Ramama Kompella as defendants on April 6, 2023. The settlement agreement required each party to

 8   release all claims against the other party which relate to the CRD’s action or the facts alleged therein.

 9          4.      The name of the Department of Fair Employment and Housing was changed by statute

10   (SB 189) to the Civil Rights Department, effective June 20, 2022.

11          5.      Plaintiff informed Defendant Cisco of its intention to seek leave from the Court to revise

12   the FAC to reflect the dismissal of the Iyer and Kompella, the change in Plaintiff’s name, and to remove

13   the above identified sentence. Cisco has not raised any objections.

14          6.      Attached as Exhibit “A” to the Memorandum of Points and Authorities in Support of the

15   Motion for Leave to Amend is redline version of the proposed First Amended Complaint with the

16   proposed changed that will constitute the Second Amended Complaint.

17          I declare under penalty of perjury that the forgoing is true and correct.

18          Executed on: December 11, 2023, at Los Angeles, CA.

19

20

21

22   Dated: December 11, 2023                                      __________________________________
                                                                   Rumduol Vuong,
23                                                                 Assistant Chief Counsel
24                                                                 Attorney for Plaintiff CRD

25

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                                                         -2-
                     Cal. Dept. Fair Empl. & Hous. v. Cisco Systems, Inc. (20CV372366)
                    Decl. of Rumduol Vuong ISO Plaintiff Motion for Leave to Amend FAC
Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 11 of 30




            EXHIBIT A
                 Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 12 of 30




 1   JAMIE CROOK (#245757)
     Chief Counsel
 2   RUMDUOL VUONG (#264392)
     Assistant Chief Counsel
 3   ROYA MASSOUMI (#242697)
     Associate Chief Counsel
 4   DYLAN COLBERT (#341424)
     Staff Counsel
 5   CALIFORNIA CIVIL RIGHTS DEPARTMENT                                                                        Deleted: OF FAIR ¶
     2218 Kausen Drive, Suite 100                                                                               EMPLOYMENT AND HOUSING
 6   Elk Grove, CA 95758
     Telephone: (916) 478-7251
 7   Facsimile: (888) 382-5293
 8   Attorneys for Plaintiff,
     California Civil Rights Department (Fee Exempt, Gov. Code, § 6103)                                        Deleted: Department of Fair Employment and Housing
 9
                      IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                               IN AND FOR THE COUNTY OF SANTA CLARA
11
     CALIFORNIA CIVIL RIGHTS                                 Case No. 20CV372366                               Deleted: DEPARTMENT OF FAIR EMPLOYMENT AND
12   DEPARTMENT, an agency of the State of                                                                     HOUSING…
     California,                                             CIVIL RIGHTS – SECOND AMENDED                     Deleted: FIRST
13                                                           COMPLAINT
                                              Plaintiff,
14
                             v.
15
     CISCO SYSTEMS, INC., a California                       DEMAND FOR JURY TRIAL
16   Corporation,                                                                                              Deleted: SUNDAR IYER, an individual; RAMANA
                                                                                                               KOMPELLA, an individual,
17                                          Defendant.
18

19                                                                                                             Deleted: Department of Fair Employment and Housing
            The California Civil Rights Department (CRD) brings this action against Cisco Systems,
                                                                                                               Deleted: DFEH
20
     Inc. (Cisco) to remedy workplace discrimination, harassment, and retaliation violations at its San
21
     Jose, California corporate headquarters under the California Fair Employment and Housing Act,
22
     Cal. Gov’t Code § 12900, et seq. (FEHA). Specifically, Cisco engaged in unlawful employment
23
     practices on the bases of religion, ancestry, national origin/ethnicity, and race/color against.
24
     Complainant Chetan Narsude (“Complainant”), and after Complainant opposed such unlawful
25
     practices, Cisco retaliated against him. Cisco also failed to take all reasonable steps to prevent such
26
     unlawful practices in its workplace, as required under FEHA.
27                                                                                                             Formatted: Indent: First line: 0"
     ///                                                                                                       Deleted: Dept. Fair Empl. & Hous
28                                                                                                             Deleted: .

                                                           -1-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 13 of 30




 1                                               INTRODUCTION

 2           1.      Complainant is Dalit Indian, a population once known as the “Untouchables,” who
                                                                                                                         Deleted: As a strict Hindu social and religious hierarchy,
 3   are the most disadvantaged people under India’s centuries-old caste system.1 At the bottom of the                   India’s caste system defines a person status based on their
                                                                                                                         religion, ancestry, national origin/ethnicity, and race/color
 4   Indian hierarchy is the Dalit, typically the darkest complexion caste, who were traditionally subject               or the caste into which they are born and will remain until
                                                                                                                         death.2
 5   to untouchability practices which segregated them by social custom and legal mandate. Although

 6   de jure segregation ended in India, lower caste persons like Dalits continue to face de facto

 7   segregation and discrimination in all spheres.3 Not only do Dalits endure the most severe inequality

 8   and unfair treatment in both the public and private sectors, they are often targets of hate violence

 9   and torture. Of India s approximately 1.3 billion people, about 200 million are Dalits.4

10           2.      Unlike Complainant, most Indian immigrants in the United States are from upper

11   castes. For example, in 2003, only 1.5 percent of Indian immigrants in the United States were

12   Dalits or members of lower castes.5 More than 90 percent were from high or dominant castes.

13   Similarly, upon information and belief, the same is true of the Indian employees in Cisco’s

14   workforce in San Jose, California.

15           3.      As alleged below, at Cisco’s San Jose headquarters, Complainant worked with a

16   team of entirely Indian employees. The team members grew-up in India and immigrated as adults

17   to the United States. Except for Complainant, the entire team are also from the high castes in India.

18   As beneficiaries of the caste system, Complainant's higher caste supervisors and co-workers

19   imported the discriminatory system’s practices into their team and Cisco’s workplace.
                                                                                                                         Deleted: Defendants
20           4.      Complainant’s supervisors and co-workers, Sundar Iyer (“Iyer) and Ramana

21   Kompella (“Kompella”), are from India’s highest castes. Because both knew Complainant is Dalit,

22   1
       Complainant is Dalit because of his religion, ancestry, national origin/ethnicity, and race/color. The caste to
23   which someone belongs is immutable and determines their social status in traditional Indian culture. Social
     stratification and discrimination based on caste persists in India and among those living outside India,
24   including in America. Encyclopedia Britannica, India: Caste (June 24, 2020),
     https://www.britannica.com/place/India/Caste (last visited June 29, 2020).
     3
25     Human Rights Watch & Center for Human Rights and Global Justice at New York University School of
     Law, Hidden Apartheid: Caste Discrimination against India’s "Untouchables,” at 45 (2007),
26   https://www.hrw.org/reports/2007/india0207/india0207webwcover.pdf
     4
       Office of the Registrar General & Census Commissioner, India, Ministry of Home Affairs, Government of
27   India, 2011 Primary Census Abstract, https://censusindia.gov.in/pca/default.aspx.
     5
       Tinku Ray, The US isn’t safe from the trauma of caste bias, The World (Mar. 08, 2019, 9:00 AM),                   Deleted: Dept. Fair Empl. & Hous
28   https://www.pri.org/stories/2019-03-08/us-isn-t-safe-trauma-caste-bias.                                             Deleted: .

                                                              -2-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                   Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 14 of 30




 1   they had certain expectations for him at Cisco. Complainant was expected to accept a caste

 2   hierarchy within the workplace where Complainant held the lowest status within the team and, as a

 3   result, received less pay, fewer opportunities, and other inferior terms and conditions of

 4   employment because of his religion, ancestry, national origin/ethnicity, and race/color. They also

 5   expected him to endure a hostile work environment. When Complainant unexpectedly opposed the

 6   unlawful practices, contrary to the traditional order between the Dalit and higher castes,

 7   Defendants retaliated against him. Worse yet, Cisco failed to even acknowledge the unlawful

 8   nature of the conduct, nor did it take any steps necessary to prevent such discrimination,

 9   harassment, and retaliation from continuing in its workplace.

10            5.     Not only did Cisco disregard Complainant, but also its own workforce. For decades,

11   similar to Complainant’s team, Cisco s technical workforce has been and continues to be

12   predominantly South Asian Indian. According to the 2017 EEO-1 Establishment Report (EEO-1

13   Report), for example, Cisco has a significant overrepresentation of Asian employees compared to

14   other companies in the communications, equipment and manufacturing industry (NAICS 3342) in

15   the same geographic area, which is statistically significant at nearly 30 standard deviations.6 Such

16   overrepresentation is also present in management and professional job categories. In addition to

17   Cisco’s direct workforce, Cisco also employs a significant number of South Asian Indian workers

18   through Indian-owned consulting firms. Outside of San Jose, Cisco’s second largest workforce in

19   India.

20            6.     Although Cisco has employed a predominantly South Asian Indian workforce for

21   decades, Cisco was and continues to be wholly unprepared to prevent, remedy, or deter the

22   unlawful conduct against Complainant or similarly situated lower caste workers. Cisco failed to

23   take any steps whatsoever to prevent “ . . . inequalities associated with [c]aste status, ritual purity,

24   and social exclusion [from] becom[ing] embedded . . . ” into its workplace, which is a documented

25
     6
       2017 EEO-1 Report for Cisco Systems, Inc. at 170 West Tasman Drive in San Jose, California. Because
26   Cisco is a federal contractor and employs 50 or more employees in California and the United States, Cisco
     is required to file an Employer Information Report EEO-1, also known as the EEO-1 Report. The EEO-1
27   Report requires employers to report employment data for all employees categorized by sex, race/ethnicity,
     and job category. EEOC, EEO-1 Instruction Booklet, https://www.eeoc.gov/ employers/eeo-1-survey/eeo-        Deleted: Dept. Fair Empl. & Hous
28   1-instruction-booklet (last visited June 23, 2020).                                                         Deleted: .

                                                           -3-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                   Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 15 of 30




 1   problem for “… American mainstream institutions that have significant South Asian immigrant

 2   populations.”7 A 2018 survey of South Asians in the U.S. found that 67% of Dalits reported being

 3   treated unfairly at their American workplaces because of their caste and related characteristics.8

 4   However, few South Asian employees raised concerns to their American employers, because they

 5   believe “their concerns will not be given weight or will lead to negative consequences to their

 6   career.”9 This is precisely what happened to Complainant at Cisco.

 7                                     JURISDICTION AND VENUE
 8           8.     This action is authorized and instituted pursuant to California Government Code
 9   sections 12930 (f) and (h), and 12965(a).
10           9.     The employment practices alleged to be unlawful were and are now being
11   committed within the County of Santa Clara in the State of California, which is within the
12   jurisdiction of the Superior Court of the County of Santa Clara. (Cal. Gov’t Code § 12965, subd.
13   (a).)
14           10.    Plaintiff has standing to bring this suit and has complied with all statutory
15   prerequisites to maintain FEHA claims.
                                                                                                           Deleted: DFEH
16           11.    Complainant filed a pre-complaint inquiry with CRD on or about April 20, 2018,
17   and a verified administrative complaint against Defendant Cisco on or about July 30, 2018. The
                                                                                                           Deleted: DFEH
18   charge was dually filed with the Equal Employment Opportunity Commission (EEOC). CRD
19   properly served the administrative complaint on Defendant Cisco on or about August 7, 2018. On
                                                                                                           Deleted: Defendants
20   or around October 9, 2018, Complainant filed an amended administrative complaint against Cisco,
21   Iyer, and Kompella. The amended administrative complaint was properly served on all named
22   responding parties on or about October 9, 2018.
                                                                                                           Deleted: DFEH
23           12.    CRD investigated Complainant’s dually filed EEOC-CRD charge and complaint
                                                                                                           Deleted: DFEH
24   pursuant to California Government Code sections 12930(f) and 12963.
25
26   7
       Maari Zwick-Maitreyi et al., Equality Labs, Caste in the United States: A Survey of Caste Among
     South Asian Americans, 16 (2018) https://static1.squarespace.com/static/58347d04bebafbb1e66df84c/t/
27   5d9b4f9afbaef569c0a5c132/1570459664518/Caste_report_2018.pdf.
     8
       Id. at 20.                                                                                          Deleted: Dept. Fair Empl. & Hous
28   9
       Ibid.                                                                                               Deleted: .

                                                         -4-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                    Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 16 of 30




                                                                                                               Deleted: DFEH
 1            13.    Pursuant to Cal. Gov’t Code § 12965(a), the CRD convened a mandatory dispute

 2   resolution session on or about February 11, 2020. Settlement discussions were unsuccessful. The
                                                                                                               Deleted: DFEH
 3   CRD and Defendants entered consecutive tolling agreements to toll the statutory deadline for CRD
                                                                                                               Deleted: DFEH
 4   to file a civil action to June 30, 2020.
                                                                                                               Deleted: DFEH
 5            14.    On or about June 30, 2020, CRD filed a civil rights complaint in the United States
                                                                                                               Deleted: DFEH
 6   District Court for the Northern District of California. On or about October 16, 2020, CRD

 7   voluntarily dismissed the federal civil rights action pursuant to Rule 41(a)(1) of the Federal Rules

 8   of Civil Procedure.
                                                                                                               Deleted: DFEH
 9            15.     CRD files this state court action pursuant to the FEHA, California Government

10   Code sections 12930, subdivisions (f)(1), (h), and 12965, subdivision (a), and 28 U.S.C. section

11   1367, subdivision (d). All conditions precedent to the institution of this lawsuit have been fulfilled.

12   The amount of damages sought by this complaint exceeds the minimum jurisdictional limits of this

13   Court.

14                                                 PARTIES
                                                                                                               Deleted: Department of Fair Employment and
15   Plaintiff California Civil Rights Department                                                              Housing
                                                                                                               Deleted: DFEH
16            16.    Plaintiff CRD is the agency of the State of California charged with the

17   administration, interpretation, investigation, and enforcement of the FEHA, and is expressly

18   authorized to bring this action by California Government Code sections 12930, subdivisions (f),

19   (h), and 12965, subdivision (a).
                                                                                                               Deleted: DFEH
20            17.    Complainant is the person claiming to be aggrieved on whose behalf the CRD files

21   this civil action. (Cal. Gov’t Code, §§ 12965, subd. (a), 12930, subd. (f), (h).)

22            18.    At all relevant times, Complainant was, and remains, an “employee” of Defendant

23   Cisco within the meaning of FEHA. (Cal. Gov’t Code, §§ 12926, subd. (c)-(d), 12940, subd. (a),

24   (j), (k).) On or around October 2015 to November 2018, Complainant worked as a Principal

25   Engineer with Cisco in Santa Clara County, California. Since on or about December 2018,

26   Complainant has worked as a Principal Engineer with Cisco in Santa Clara County, California.

27            19.     At all relevant times, Complainant was, and remains, a “person” within the
                                                                                                               Deleted: Dept. Fair Empl. & Hous
28   meaning of the FEHA. (Cal. Gov’t Code, §§ 12925, subd. (d), 12940, subd. (h).)                            Deleted: .

                                                         -5-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                    Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 17 of 30




 1   Defendant Cisco Systems, Inc.

 2            20.    Defendant Cisco (EEO-1 reporting number N14137) is a leading global high-tech

 3   firm founded in 1984. The company designs, manufactures, sells, and supports equipment for

 4   internet-based networking. It has approximately 75,900 employees worldwide and is publicly

 5   traded on NASDAQ. The firm’s EEO-1 reports places it in the communications equipment

 6   manufacturing industry (NAICS 3342). Within California, Cisco employs at least 18,281

 7   employees at 19 establishments in 6 different metropolitan areas, including the corporate

 8   headquarters in San Jose.

 9            21.    At all relevant times, Defendant Cisco has continuously been and is now a

10   California Corporation doing business in the State of California and the Cities of San Jose and

11   Milpitas in Santa Clara County and has continuously had at least fifteen employees.

12            22.    At all relevant times, Defendant Cisco has continuously been an employer engaged

13   in an industry affecting commerce within the meaning of California Government Code, section

14   12926, subdivision (d).
                                                                                                             Deleted: Defendant Sundar Iyer¶
15            23.    At all relevant times, Cisco contracted with and received federal and state funds       24. At all relevant times, Defendant Sundar Iyer was
                                                                                                             employed by Cisco as a “supervisor” within the meaning
16   from the United States and California governments.                                                      of FEHA. (Cal. Gov’t Code, § 12926, subd. (t).) DFEH is
                                                                                                             informed and believes that Iyer was a Distinguished
17                                       STATEMENT OF CLAIMS                                                 Engineer with Cisco. Public records indicate Iyer resided
                                                                                                             in Palo Alto, California at the time of the events alleged
              28.    Beginning in the November 1, 2016, Defendant Cisco engaged in unlawful                  herein.¶
18                                                                                                           25. At all relevant times, Defendant Iyer was the agent of
                                                                                                             Defendant Cisco and was acting within the scope and
19   employment practices, in violation of California Government Code, section § 12940 subdivisions          authority of such agency, and Defendant Iyer is jointly and
                                                                                                             severally responsible and liable to Complainant for the
20   (a), (j), (h), and (k). These practices include but are not limited to the practices described below.   damages alleged. ¶
                                                                                                             Defendant Ramana Kompella¶
              29.    Complainant’s ancestry, national origin/ethnicity, and race/color is Dalit Indian.      26. At all relevant times, Defendant Ramana Kompella
21                                                                                                           was employed by Cisco as a “supervisor” within the
                                                                                                             meaning of the FEHA. (Cal. Gov’t Code, § 12926, subd.
22   Complainant has a darker complexion relative to other persons of non-Dalit Indian descent.              (t).) DFEH is informed and believes that Kompella was a
                                                                                                             Principal Engineer with Cisco. Public records indicate
23   Complainant’s religion is Hindu. As a Dalit, he also is known as from the Untouchable or Scheduled      Kompella resided in Cupertino, California at the time of
                                                                                                             the events alleged herein.¶
     Caste.                                                                                                  27. At all relevant times, Defendant Kompella was the
24                                                                                                           agent of Defendant Cisco and was acting within the scope
                                                                                                             and authority of such agency, and Defendant Kompella is
25            30.    Complainant has over 20 years of experience in the software development lifecycle       jointly and severally responsible and liable to Complainant
                                                                                                             for the damages alleged.¶
26   process at startups and established companies. In or around September 2015, Iyer recruited and          Deleted: s

27   hired Complainant as a Principal Engineer for Cisco because of his expertise and experience. As         Deleted: , Iyer, and Kompella
                                                                                                             Deleted: Dept. Fair Empl. & Hous
28   the head of the Cisco team, Iyer hired and supervised Complainant, having the authority to control      Deleted: .

                                                          -6-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 18 of 30




 1   his day-to-day assignments, discipline, discharge, direct, and transfer Complainant. Upon

 2   information and belief, Iyer is Brahmin.

 3          31.     In or around October 2016, two of Complainant’s colleagues told Complainant that

 4   Iyer informed them that Complainant was from the “Scheduled Caste” (Dalit) and enrolled in the

 5   Indian Institute of Technology (IIT) through affirmative action. Iyer was aware of Complainant’s

 6   caste because they attended IIT at the same time.

 7          32.     In or around November 1, 2016, Complainant confronted Iyer about disclosing

 8   Complainant’s Caste to other Cisco employees. Iyer asked Complainant who claimed he made

 9   such a comment. After Complainant shared the names of his colleagues, Iyer denied the comment

10   and stated Complainant’s colleagues were not telling the truth.

11          33.     In or around November 21, 2016, Complainant contacted Cisco’s human resources

12   (HR) and Employee Relations to file a discrimination complaint against Iyer.

13          34.     Six days after Complainant’s first contact with Cisco's HR and employee relations, Iyer

14   told Complainant he was taking away Complainant's role as lead on two technologies.

15          35.     On or around November 28, 2016, Iyer promoted two of Complainant’s colleagues to
                                                                                                              Deleted: Defendant
16   head engineering roles, one of whom was Kompella. Kompella was made Head of Southbound

17   Engineering. Upon information and belief, Kompella is Brahmin or at least of a higher caste than
                                                                                                              Deleted: Defendant
18   Dalit. With this new title, Kompella received a raise of approximately 15% or more. As the Head

19   of Southbound Engineering, Kompella had the ability to direct the day-to-day assignments and

20   recommend employment actions for those on his team, including Complainant.

21          36.     On or around November 28, 2016, Iyer also removed team members from the third

22   technology Complainant was working on and did not formally integrate the third technology into

23   either team headed by the two new Heads of Engineering. As a result of these changes,

24   Complainant’s role was reduced to that of a system architect as an independent contributor, and he

25   was isolated from all his colleagues.

26          37.     On or around December 8, 2016, Complainant submitted a written complaint about

27   Iyer’s disclosure of Complainant’s caste, Complainant’s complaint to Iyer, and Iyer’s retaliatory
                                                                                                              Deleted: Dept. Fair Empl. & Hous
28   employment actions, including the sudden changes to Complainant’s job duties. He also                    Deleted: .

                                                          -7-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 19 of 30




 1   complained that Iyer made discriminatory comments to a colleague and about a job applicant

 2   because of the applicant’s religion (Muslim).

 3          38.     Cisco’s Employee Relations Manager, Brenda Davis, conducted the investigation

 4   into Complainant’s December 2016 complaint. Davis’ internal investigation notes revealed that

 5   Iyer admitted that he told Complainant’s colleagues that Complainant was not on the “main list.”

 6   Among those from India, it is commonly known that students not on the main list are admitted to

 7   IIT through an affirmative action program designed for those from the “Scheduled Castes” or those

 8   outside the caste system. Therefore, stating that someone is not on the “main list” effectively

 9   reveals their caste. Despite this, Davis took no further action and failed to even contact relevant

10   witnesses or Complainant.

11          39.     Cisco Employee Relations staff, including Davis, also indicated that caste

12   discrimination was not unlawful. As a result, Davis did not recommend any corrective action

13   against Iyer. Iyer also admitted that he made a joke about Complainant’s co worker’s religion and

14   talked about an applicant’s Muslim-related appearance. Still, Davis did not recommend any

15   corrective action. On or around February 2, 2017, Davis closed her investigation finding all of

16   Complainant’s complaints were unsubstantiated.

17          40.     Iyer’s retaliatory efforts continued. He further isolated Complainant from the team

18   when he disparaged Complainant to other employees, misrepresented that Complainant did not

19   perform his job adequately, and told Complainant’s team members that they should avoid working

20   with him.

21          41.     On or around March 2, 2017, Complainant sought review of Davis’ investigation

22   findings. After repeated attempts to have Cisco review Davis’ findings, HR official Tara Powell

23   finally reopened the investigation on or around April 25, 2017. Powell re-interviewed one of the

24   employees to whom Iyer made the comment about Complainant’s caste in or around October 2015.

25   The employee stated that he learned about Complainant’s caste but refused to tell Powell how he

26   knew, noting that he did not want to say anything about Iyer because they had known each other

27   for a long time. He also stated that he thought Complainant was being treated unfairly and that he
                                                                                                           Deleted: Dept. Fair Empl. & Hous
28   was very technically able but was being excluded at work. Powell did not attempt to contact for an    Deleted: .

                                                         -8-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 20 of 30




 1   interview the other employee who witnessed Iyer's disclosure of Complainant’s caste. Two

 2   additional witnesses told Powell that they feared losing their jobs or otherwise being retaliated

 3   against for speaking out against Iyer. One of those employees also told Powell that he thought

 4   Complainant was very competent and asked appropriate questions, but that Iyer was setting

 5   Complainant up to push him out of the company.

 6          42.     Powell’s investigation also uncovered a spreadsheet that showed anticipated yearly

 7   raises, bonuses, and restricted stock unit awards that Iyer had promised Complainant. These raises,

 8   bonuses, and awards never materialized when promised. But Powell also found that four out of the

 9   eight other team members received raises in or around October 2016.

10          43.     In or around August 2017, Powell concluded she could not substantiate any caste-

11   based or related discrimination or retaliation against Complainant. Powell, however, determined

12   that Iyer mocked another employee’s religion and thus violated Cisco's Code of Conduct. Still, no

13   immediate corrective action was taken.

14          44.     Despite Complainant’s repeated attempts to bring the caste-based and related

15   discrimination, harassment, and retaliation to Defendant Cisco’s attention in 2016 and 2017, Cisco

16   failed to recognize casteism as a form of unlawful religion-, ancestry-, national origin/ethnicity-,

17   and race/color-based discrimination or harassment under state or federal law and failed to conduct

18   a thorough investigation. While the investigation confirmed Complainant was increasingly isolated

19   and treated unfairly by Iyer and Kompella, Cisco failed to take timely and appropriate corrective

20   action. Moreover, Cisco’s training was deficient in that it did not adequately train managerial

21   employees on workplace discrimination, harassment, and retaliation, nor did the company prevent,

22   deter, remedy, or monitor casteism in its workforce.

23          45.     On or around February 26, 2018, Kompella became the Interim Head of

24   Engineering for Cisco’s team after Iyer stepped down. In his new role, Kompella supervised

25   Complainant and continued to discriminate, harass, and retaliate against Complainant by, for

26   example, giving him assignments that were impossible to complete under the circumstances.

27   Kompella also began requiring Complainant to submit weekly status reports to him and Senior
                                                                                                            Deleted: Dept. Fair Empl. & Hous
28   Vice President/General Manager Tom Edsall.                                                             Deleted: .

                                                         -9-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 21 of 30




 1             46.     On or around May 21, 2018, Rajeev Gupta took over from Kompella and became

 2   the Director of Engineering. In that role, Gupta supervised Complainant.

 3             47.     Two months later, in or around July 2018, Complainant applied for the position of

 4   Director of Research and Development Operations with Gupta. According to Gupta’s interview

 5   notes, he ranked Complainant as “below average” in six out of eight categories and as “meeting

 6   requirements” in the remaining two categories. But Gupta’s assessment of Complainant was

 7   improperly influenced by Iyer’s retaliatory employment actions. Gupta specifically cited

 8   Complainant’s lead role being taken away and his job reduced to that of an independent

 9   contributor in November 2016. Gupta’s notes also reflected Iyer’s retaliatory criticisms about

10   Complainant’s work product, social skills, and insubordination. Complainant did not get the

11   position.

12             48.     The effect of the unlawful employment practices complained of above was to

13   deprive Complainant of equal employment opportunities, and otherwise adversely affect his status

14   as employees, because of religion, ancestry, national origin/ethnicity, and race/color.

15             49.     The unlawful employment practices complained of above were intentional.

16             50.     The unlawful employment practices complained of above were done with malice or

17   with reckless indifference to Complainant’s federally and state-protected civil rights.

18                                       FIRST CAUSE OF ACTION
                     Violation of FEHA: Discrimination on the Basis of Religion, Ancestry,
19                                 National Origin/Ethnicity, and Race/Color
20                                    (Cal. Gov't Code, § 12940, subd. (a))
                                             Against Defendant Cisco
21
                                                                                                           Deleted: DFEH
22             51.     The CRD incorporates and realleges all previous allegations as if fully set forth
23   herein.
24             52.     The FEHA guarantees all employees a workplace free from unlawful discrimination
25   and harassment based on the employee’s religion, ancestry, national origin/ethnicity, and
26   race/color. (Cal. Gov’t Code, § 12940, subd. (a).)
27             53.     As alleged above, Cisco discriminated against Complainant by subjecting him to
                                                                                                           Deleted: Dept. Fair Empl. & Hous
28   disparate terms and conditions of employment based on his religion, ancestry, national                Deleted: .

                                                          -10-
                          Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                       Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 22 of 30




 1   origin/ethnicity, and race/color. Among other actions, Cisco reassigned Complainant’s job duties

 2   and isolated him from his colleagues, denied him a raise, denied him work opportunities that

 3   would have led to a raise, denied him a promotion to the Head of Engineering, and denied him a

 4   promotion to the Director of Research and Development Operations.

 5             54.     Cisco subjected Complainant to discriminatory comments and conduct because of

 6   his religion, ancestry, national origin/ethnicity, and race/color

 7             55.    The alleged discriminatory comments and conduct constitute unlawful

 8   discrimination for which Defendant Cisco is liable under California Government Code section

 9   12940, subdivision (a). 56. As a direct result of these unlawful employment practices, Complainant

10   suffered economic injuries including, but not limited to, lost wages and other compensation, in an

11   amount to be proven at trial.

12             57.    As a direct result of these unlawful employment practices, Complainant suffered

13   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

14   humiliation, and hopelessness, in an amount to be proven at trial.

15             58.    Defendant Cisco’ s actions were willful, malicious, fraudulent, and oppressive, and

16   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

17   rights.

18             59.     Defendant Cisco engaged in, and by its refusal to comply with the law,

19   demonstrated it will continue to engage in, the unlawful employment discrimination described

20   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

21   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

22   seek or hold employment free of unlawful discrimination will continue to be violated.
                                                                                                               Deleted: DFEH
23             60.    Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

24   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

25   the unlawful conduct and grants other injunctive relief as prayed for herein.

26   ///

27   ///
                                                                                                               Deleted: Dept. Fair Empl. & Hous
28   ///                                                                                                       Deleted: .

                                                         -11-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 23 of 30




                                                                                                               Deleted: / / /¶
 1                                   SECOND CAUSE OF ACTION                                                    / / /¶

 2              Violation of FEHA: Harassment on the Basis of Religion, Ancestry, National
                                          Origin/Ethnicity, and
 3                                             Race/Color
                                   (Cal. Gov't Code, § 12940, subd. (j))
 4                                       Against Defendant Cisco                                               Deleted: All
                                                                                                               Deleted: s
 5             61.    The CRD incorporates and realleges all previous allegations as if fully set forth
                                                                                                               Deleted: DFEH
 6   herein.

 7             62.    The FEHA prohibits harassment based on the employee’s protected characteristics

 8   including, but not limited to, their caste, which includes religion, ancestry, national

 9   origin/ethnicity, and race/color. (Cal. Gov’t Code, § 12940, subd. (j).) Employers are liable for the

10   harassment of their supervisors. (Id., subd. (j)(1).) Employees and supervisors are liable for their

11   own harassing conduct. (Id., subd. (j)(3).)
                                                                                                               Deleted: Defendants
12             63.    As alleged above, as supervisors for Cisco’s team, Iyer and Kompella subjected

13   Complainant to offensive comments and other misconduct based on his caste, which includes his

14   religion, ancestry, national origin/ethnicity, and race/color, so severe or pervasive that it created a

15   hostile work environment. Among other things, Iyer and Kompella's comments and conduct

16   include revealing Complainant’s caste to his colleagues, disparaging him to the team, isolating him

17   from the rest of the team, reducing his role to that of an independent contributor, giving him

18   assignments that were impossible to complete under the circumstances, and requiring him to

19   submit weekly status reports. Such a work environment where a stigmatizing personal

20   characteristic such as caste is publicized and used to subjugate an individual in order to maintain a

21   centuries-old hierarchy is hostile, intimidating, offensive, oppressive, and abusive. Other

22   employees corroborated that Complainant was isolated from the rest of the team and that Iyer and

23   Kompella were responsible for it. These were observations Cisco was made aware of during its

24   internal investigations. As evidenced by Complainant's repeated internal complaints, he in fact

25   considered the work environment to be hostile, intimidating, offensive, oppressive, and abusive.
                                                                                                               Deleted: Defendants
26             64.    As supervisors for Cisco, Iyer and Kompella subjected Complainant to offensive

27   comments and other misconduct based on his caste, which includes his religion, ancestry, national
                                                                                                               Deleted: Dept. Fair Empl. & Hous
28   origin/ethnicity, and race/color, so severe or pervasive that it created a hostile work environment.      Deleted: .

                                                         -12-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 24 of 30




                                                                                                               Deleted: Defendants Iyer and Kompella are individually
 1             65.    Because Iyer and Kompella were supervisors within the meaning of the FEHA,               liable for their own harassing conduct in violation of the
                                                                                                               FEHA.¶
 2   Defendant Cisco is liable for their harassing conduct. Defendant Cisco knew or should have known          66.
                                                                                                               Deleted: Defendants
 3   of the conduct as a result of Complainant’s internal complaints and is liable for its failure to take

 4   immediate and appropriate corrective action.

 5             67.    As a direct result of these unlawful employment practices, Complainant suffered

 6   economic injuries including, but not limited to, lost wages and other compensation, in an amount

 7   to be proven at trial.

 8             68.    As a direct result of these unlawful employment practices, Complainant suffered

 9   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

10   humiliation, and hopelessness, in an amount to be proven at trial.

11             69.    Defendant Cisco’s actions were willful, malicious, fraudulent, and oppressive, and

12   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

13   rights.

14             70.    Defendant Cisco engaged in, and by its refusal to comply with the law,

15   demonstrated it will continue to engage in, the unlawful employment discrimination described

16   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

17   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

18   seek or hold employment free of unlawful discrimination will continue to be violated.
                                                                                                               Deleted: DFEH
19             71.    Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

20   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

21   the unlawful conduct and grants other injunctive relief as prayed for herein.
                                      THIRD CAUSE OF ACTION                                                    Deleted: ///¶
22                                   Violation of FEHA: Retaliation                                            ///¶
                                                                                                               ///¶
23                                (Cal. Gov't Code, § 12940, subd. (h))
                                        Against Defendant Cisco
24
                                                                                                               Deleted: DFEH
25             72.    The CRD incorporates and realleges all previous allegations as if fully set forth
26   herein.
27             73.    California law also guarantees each employees’ right to a workplace and business
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28   environment free from unlawful retaliation because the employee opposed discriminatory or                 Deleted: .

                                                         -13-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 25 of 30




 1   harassing practices that are unlawful under the FEHA. Employers are liable for the retaliatory

 2   conduct of supervisors. (Cal. Gov. Code, § 12940, subd. (h).)
                                                                                                           Deleted: Defendants
 3             74.    As alleged above, as supervisors for Cisco, Iyer and Kompella retaliated against

 4   Complainant for opposing their discriminatory and harassing conduct by confronting Iyer and

 5   filing internal discrimination complaints. Among other things, Complainant engaged in protected

 6   activity by confronting Iyer about disclosing his caste to colleagues and by repeatedly trying to

 7   bring the caste-based and related discrimination and harassment to Cisco’s attention. Immediately

 8   afterwards, Iyer and Kompella subjected Complainant to adverse employment actions including

 9   reassigning his job duties, isolating him from colleagues, giving him assignments that were

10   impossible to complete under the circumstances, denying him work opportunities that could have

11   led to a raise, denying him a raise, and denying him promotions. Cisco aided the retaliation.
                                                                                                           Deleted: Defendants
12             75.    As supervisors for Cisco, Iyer and Kompella retaliated against Complainant for

13   opposing their discriminatory and harassing conduct by confronting Iyer and filing internal

14   discrimination complaints and Cisco aided the retaliation.
                                                                                                           Deleted: Defendants
15             76.    Defendant Cisco is liable for the retaliatory conduct of Iyer and Kompella.

16             77.    As a direct result of these unlawful employment practices, Complainant suffered

17   economic injuries including, but not limited to, lost wages and other compensation, in an amount

18   to be proven at trial.

19             78.     As a direct result of these unlawful employment practices, Complainant suffered

20   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

21   humiliation, and hopelessness, in an amount to be proven at trial.

22             79.    Defendant Cisco’s actions were willful, malicious, fraudulent, and oppressive, and

23   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

24   rights.

25             80.    Defendant Cisco engaged in, and by its refusal to comply with the law,

26   demonstrated it will continue to engage in, the unlawful employment discrimination described

27   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing
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                                                         -14-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 26 of 30




 1   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

 2   seek or hold employment free of unlawful discrimination will continue to be violated.
                                                                                                               Deleted: DFEH
 3             81.     Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

 4   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

 5   the unlawful conduct and grants other injunctive relief as prayed for herein.

 6                                  FOURTH CAUSE OF ACTION
           Violation of FEHA: Failure to Take All Reasonable Steps to Prevent Discrimination,
 7                                   Harassment, and Retaliation
                                  (Cal. Gov't Code, § 12940, subd. (k))
 8                                      Against Defendant Cisco
                                                                                                               Deleted: DFEH
 9             82.    The CRD incorporates and realleges all previous allegations as if fully set forth
10   herein.
11             83.    California Government Code section 12940(k) provides that it is an unlawful
12   employment practice for an employer to fail to take all reasonable steps necessary to prevent
13   discrimination, harassment, and retaliation from occurring. Employers have the affirmative duty to
14   take all reasonable steps to prevent and promptly correct discriminatory, harassing, and retaliatory
15   conduct. (Cal. Code Regs. tit. 2, § 11023, subd. (a).) Cisco’s conduct, as described above,
16   constitutes a failure to take all reasonable steps necessary to prevent discrimination, harassment,
17   and retaliation in violation of California Government Code section 12940, subdivision (k).
18   ///
19             84.    An actionable claim for violation of California Government Code section 12940(k)
20   on behalf of a complainant exists when an underlying claim of discrimination, harassment, or
21   retaliation is established. (Cal. Code Regs. tit. 2, § 11023, subd. (a)(2).)
22             85.    As alleged above, Defendant Cisco failed to take all reasonable steps necessary to
23   prevent discrimination, harassment, and retaliation from occurring within its South Asian Indian
24   workforce. Among other things, Defendant Cisco failed to develop anti-discrimination and anti-
25   harassment policies and practices that recognize and prohibit caste discrimination as a form of
26   unlawful discrimination under state and federal law. Defendant Cisco also failed to provide
27   appropriate training to managers, supervisors employees, human resources, and employee relations
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                                                          -15-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 27 of 30




 1   personnel on how to identify, investigate, remediate, and prevent caste-based discrimination and

 2   harassment, or retaliation against employees or persons who oppose discriminatory and harassing

 3   practices that are unlawful under the FEHA.

 4             86.    Defendant Cisco failed to prevent discrimination and harassment by its managers

 5   and supervisors against Complainant because of his caste.

 6             87.    Defendant Cisco failed to prevent retaliation by its managers and supervisors

 7   against Complainant because he opposed discriminatory and harassing practices that are unlawful

 8   under the FEHA.

 9             88.    As a direct result of Cisco’s failures, Complainant was subjected to unlawful

10   discrimination, harassment, and retaliation by Cisco’s managers and supervisors, suffering

11   economic injuries including, but not limited to, lost wages and other compensation, in an amount

12   to be proven at trial.

13             89.    As a direct result of Cisco’s failures, Complainant was subjected to unlawful

14   discrimination, harassment, and retaliation by Cisco’s managers and supervisors, suffering

15   emotional distress including, but not limited to, emotional pain, suffering, mental anguish,

16   humiliation, and hopelessness, in an amount to be proven at trial.

17             90.    Defendant Cisco' s actions were willful, malicious, fraudulent, and oppressive, and

18   were committed with the wrongful intent to injure Complainant and in conscious disregard of his

19   rights.

20             91.    Defendant Cisco engaged in, and by its refusal to comply with the law,

21   demonstrated it will continue to engage in, the unlawful employment discrimination described

22   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

23   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

24   seek or hold employment free of unlawful discrimination will continue to be violated.
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25             92.    Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

26   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

27   the unlawful conduct and grants other injunctive relief as prayed for herein.
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                                                         -16-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                     Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 28 of 30




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 1             93.     Plaintiff CRD also seeks monetary relief for Cisco’s failure to take all reasonable

 2   steps to prevent harassment from occurring.

 3                                  FIFTH CAUSE OF ACTION
         Violation of FEHA: Failure to Take All Reasonable Steps to Prevent Discrimination,
 4
                                             Harassment,
 5                                         and Retaliation
           (Cal. Gov't Code, § 12940, subd. (k); Cal. Code Regs. tit. 2, § 11023, subd. (a)(3))
 6                           On behalf of CRD; Against Defendant Cisco                                       Deleted: DFEH
                                                                                                             Deleted: DFEH
 7             94.    The CRD incorporates and realleges all previous allegations as if fully set forth

 8   herein.
                                                                                                             Deleted: DFEH
 9             95.    In an exercise of the CRD’s police powers, the CRD may independently seek
                                                                                                             Deleted: DFEH
10   additional remedies for a violation of Cal. Gov’t Code § 12940(k). (Cal. Code Regs. tit. 2,

11   § 11023, subd. (a)(3).) As the agency of the State of California charged with the administration,
                                                                                                             Deleted: DFEH
12   interpretation, investigation, and enforcement of FEHA, the CRD brings this claim in the name of
                                                                                                             Deleted: DFEH
13   the CRD on behalf of all Indian persons who are or are perceived to be Dalit, of lower castes, or

14   who fall outside the caste system, who are employed by or may seek employment with Cisco in the

15   future.

16             96.    As alleged above, Defendant Cisco failed to take all reasonable steps necessary to

17   prevent discrimination, harassment, and retaliation from occurring within its South Asian Indian

18   workforce. Among other things, Defendant Cisco failed to develop anti-discrimination and anti-

19   harassment policies and practices that recognize and prohibit caste discrimination as a form of

20   unlawful discrimination under state and federal law. Defendant Cisco also failed to provide

21   appropriate training to managers, supervisors employees, human resources, and employee relations

22   personnel on how to identify, investigate, remediate, and prevent caste-based discrimination and

23   harassment, or retaliation against employees or persons who oppose discriminatory and harassing

24   practices that are unlawful under the FEHA.

25             97.    Cisco’s failure to take any reasonable steps to prevent, deter, remedy, or monitor

26   casteism and related violations in its workforce exposes a significant portion of its South Asian

27   Indian workforce to the risk of discrimination, harassment, and retaliation on the basis of their
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28   caste and related characteristics.                                                                      Deleted: .

                                                          -17-
                         Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                      Civil Rights-First Amended Complaint
                   Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 29 of 30




 1           98.       Defendant Cisco engaged in, and by its refusal to comply with the law,

 2   demonstrated it will continue to engage in, the unlawful employment discrimination described

 3   herein unless it is enjoined pursuant to the FEHA. Unless Defendant Cisco is enjoined from failing

 4   or refusing to comply with the mandates of the FEHA, Complainant and other persons’ rights to

 5   seek or hold employment free of unlawful discrimination will continue to be violated.
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 6           99.       Plaintiff CRD lacks any plain, speedy, and adequate remedy at law to prevent such

 7   harm, injury, and loss that is the subject of this complaint and will continue until this Court enjoins

 8   the unlawful conduct and grants other injunctive relief as prayed for herein.

 9                                          PRAYER FOR RELIEF
                                                                                                               Deleted: DFEH
10   WHEREFORE, the CRD respectfully requests that this Court:

11           1.        Grant a permanent injunction enjoining Defendants, their officers, agents, servants,

12   employees, attorneys, and all persons in active concert or participation with them, from engaging

13   in discrimination and harassment based on religion, ancestry, national origin/ethnicity, and

14   race/color.

15           2.        Grant a permanent injunction enjoining Defendants, their officers, agents, servants,

16   employees, attorneys, and all persons in active concert or participation with them, from engaging

17   in retaliation.

18           3.        Order Defendants to institute and carry out policies, practices, and programs that

19   provide equal employment opportunities for individuals regardless of their religion, ancestry,

20   national origin/ethnicity, and race/color, and that eradicate the effects of their past and present

21   unlawful employment practices.

22           4.        Order Defendants to make Complainant whole, by providing appropriate backpay

23   with prejudgment interest, in amounts to be determined at trial, and other injunctive relief

24   necessary to eradicate the effects of Defendants’ unlawful employment practices.

25           5.        Order Defendants to make Complainant whole, by providing compensation for past

26   and future pecuniary losses resulting from the unlawful employment practices described herein, in

27   amounts to be determined at trial.
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                                                          -18-
                          Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                       Civil Rights-First Amended Complaint
                  Case 2:22-cv-01656-DAD-JDP Document 42-2 Filed 05/20/24 Page 30 of 30




 1           6.     Order Defendants to make Complainant whole, by providing compensation for past

 2   and future nonpecuniary losses resulting from the unlawful practices complained of herein,

 3   including losses such as emotional pain, suffering, inconvenience, loss of enjoyment of life, and

 4   humiliation, in amounts to be determined at trial.

 5           7.     Order Defendants to pay Complainant punitive damages for their malicious and/or

 6   reckless conduct described herein, in amounts to be determined at trial.

 7           8.     Grant such further relief as the Court deems necessary and proper in the public

 8   interest.
                                                                                                         Deleted: DFEH
 9           9.     Award the CRD its costs of this action, including reasonable attorneys’ fees, as

10   provided by statute.

11
                                          JURY TRIAL DEMAND
12                                                                                                       Deleted: DFEH
             The CRD requests a jury trial on all questions of fact raised by its complaint.
13
14           Dated: December 11, 2023                             CALIFORNIA CIVIL RIGHTS                Deleted: 8
                                                                  DEPARTMENT                             Deleted:
15
                                                                                                         Deleted: DEPARTMENT OF FAIR¶
16                                                                                                       EMPLOYMENT AND HOUSING
                                                                  By:_____________________________       Formatted: Not Highlight
17                                                                Assistant Chief Counsel
                                                                  Counsel for Plaintiffs                 Formatted: Indent: Left: 0.5", Hanging: 3.5"
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                                                          -19-
                        Cal. Rights Department v. Cisco Systems, Inc., et al. (20CV372366)
                                     Civil Rights-First Amended Complaint
